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                   John A. Simon (admitted Pro Hac Vice)
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             6

             7     Attorneys for Debtors and Debtors in
                   Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
             8     INC., and SCOOBUR, LLC
             9
                                                 UNITED STATES BANKRUPTCY COURT
           10
                                                  CENTRAL DISTRICT OF CALIFORNIA
           11
                                                         LOS ANGELES DIVISION
           12
                                                                       CASE NO. 2:19-bk-14989-WB
           13      In re:                                              Jointly Administered:
                                                                       2:19-bk-14991-WB; 2:19-bk-14997-WB
           14      SCOOBEEZ, et al.1
                                                                       CHAPTER 11
           15               Debtors and Debtors in Possession.
                                                                       Adversary No. 2:19-ap-01456-WB
           16      SCOOBEEZ, INC.,
                                                                       DECLARATION OF SHANE MOSES
           17                                     Plaintiff,           REGARDING NOTICE AND SERVICE
                   v.                                                  OF DEBTORS’ NOTICE OF MOTION
           18                                                          AND EMERGENCY MOTION FOR
                   AMAZON LOGISTICS, INC.,                             TEMPORARY RESTRAINING ORDER
           19                                                          AND PRELIMINARY INJUNCTION TO
                                                  Defendant.           PREVENT VIOLATION OF THE
           20                                                          AUTOMATIC STAY

           21                                                          Hearing:
                                                                       Date: October 28, 2019
           22                                                          Time: 2:00 p.m.
                                                                       Place: Courtroom 1375
           23                                                                 U.S. Bankruptcy Court
                                                                              255 East Temple Street
           24                                                                 Los Angeles, CA 90012

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           27               1
                            The Debtors and the last four digits of their respective federal taxpayer identification
                   numbers are as follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC
           28      (0343). The Debtors’ address is 3463 Foothill Boulevard, Glendale, California 91214.


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             1            I, Shane J. Moses, hereby declare:
             2            1.      I am an attorney duly authorized to practice before the above-referenced court. I
             3     am an of counsel with the law firm of Foley & Lardner, LLP, proposed general insolvency
             4     counsel for Scoobeez, Scoobeez Global, Inc., and Scoobur, LLC, the debtors and debtors in
             5     possession in the above-captioned, jointly administered bankruptcy cases (collectively, the
             6     “Debtors”). I submit this declaration in support of the Debtors’ Notice of Motion and
             7     Emergency Motion for Temporary Restraining Order and Preliminary Injunction to Prevent
             8     Violation of the Automatic Stay (the “Emergency Motion”).
             9            2.      Unless otherwise stated, I have personal knowledge of the matters set forth herein,
           10      and if call as a witness, could and would competently testify to the same.
           11             3.      Soobeez, Inc. (the “Plaintiff”) filed its adversary proceeding Complaint for 1.
           12      Violation of the Automatic Stay [11 U.S.C. § 362]; 2. Declaratory Judgment; 3. Injunctive
           13      Relief; and 4. Breach of the Duty of Good Faith and Fair Dealing, which is designated as
           14      Adversary Proceeding No. 2:19-ap-01456, on October 25, 2019 (the “Complaint”).
           15             4.      The Complaint names Amazon Logisitics, Inc. as defendant (the “Defendant”).
           16             5.      The Defendants also filed the Emergency Motion, seeking relief against the
           17      Defendant, on October 25, 2019.
           18             6.      On October 25, 2019, I telephoned and spoke to Richard Esterkin, counsel for the
           19      Defendant, at approximately 3:35 p.m. I informed Mr. Esterkin that the Plaintiff would be filing
           20      the Complaint and the Emergency Motion in the immediate future, and that the Emergency
           21      Motion would be heard by the Court at 2:00 p.m. on Monday October 28, 2019.
           22             7.      Also on October 25, 2019, between approximately 3:36 p.m. and 3:40 p.m., I
           23      telephoned and left messages for David Neale, as counsel the Committee, and Anthony
           24      Napolitano, as counsel for Hillair Capital Management. I informed both Mr. Neale and Mr.
           25      Napolitano that the Plaintiff would be filing the Complaint and the Emergency Motion in the
           26      immediate future, and that the Emergency Motion would be heard by the Court at 2:00 p.m. on
           27      October 28, 2019
           28
                                                                   DECL. OF S. MOSES RE: NOTICE AND SERVICE OF
                                                                   MOTION FOR TEMPORARY RESTRAINING ORDER
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             1            8.      At 4:26 p.m. on October 25, my assistance, Sonia Gaeta, sent an email addressed
             2     to Mr. Esterkin, as counsel for the Defendant; Mr. Neal and John Patrick Fritz, as counsel for the
             3     Committee; Mr. Napolitano, Stephen Spector, Jennifer Nassiri, and Eric Winston, as counsel for
             4     Hillair; and Alvin Mar, as counsel for the U.S. Trustee. Ms. Gaeta’s email provided copies of
             5     the filed Complaint and Emergency Motion, and provided notice of the date, time, and place of
             6     the hearing on the Emergency Motion.
             7            I declare under penalty of perjury that the foregoing is true and correct. Executed this
             8     28th day of October 2019, at San Francisco, California.
             9
                                                              /s/ Shane J. Moses
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                                                              Shane J. Moses
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                                                                   DECL. OF S. MOSES RE: NOTICE AND SERVICE OF
                                                                   MOTION FOR TEMPORARY RESTRAINING ORDER
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